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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE:                                                   Case No. 17-10941-SR

SHARMIL MCKEE,                                           Chapter 7
                               Debtor

            CERTIFICATION OF SERVICE AND CERTIFICATION OF NOTICE


       1.      I, Glenn A. Brown, DMD, Esquire, am the Debtor’s attorney in this case.

       2.      On September 22, 2017, I sent a copy of the Notice of Motion for Contempt and a

copy of the Motion for Contempt, on all parties listed below by U.S. First Class Mail, postage

prepaid.



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United States Trustee                               Philadelphia, PA 19102
833 Chestnut Street, Suite 500                      .
Philadelphia, PA 19107                              President Judge Sheila Woods-Skipper
                                                    City Hall, Room 386
United States Trustee                               Philadelphia, PA, 19107
833 Chestnut Street, Suite 500
Philadelphia, PA 19107                              Legal Services Unit
Michael Pearson                                     Domestic Relations Div.
500 Admirals Way #101                               1501 Arch St
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Family Court of Philadelphia                        Pa. State Collection and Disbursement Unit
1501 Arch Street                                    PO Box 69110
Philadelphia, PA 19102                              Harrisburg, PA
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Michael Pearson                                 President Judge Sheila Woods-Skipper
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Family Court of Philadelphia                    Legal Services Unit
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                                                Office of the Clerk of the Family Court
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                                                 /s/ Glenn A. Brown
                                                Glenn A. Brown, DMD, Esquire




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